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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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LARKIN,                                                          :
                                                                 :                     8/24/2020
                                            Plaintiff,
                                                                 :
                                                                 :
                                                                 :
                 v.                                                     1:19-cv-08349 (ALC)(JLC)
                                                                 :
                                                                 :      ORDER
TRANS UNION, LLC, ET AL.,
                                                                 :
                                                                 :
                                                                 :
                                            Defendants.
                                                                  :
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ANDREW L. CARTER, JR., District Judge:

         It having been reported to this Court that this case has been or will be settled as to

Defendant Verizon Communications, Inc., ECF No. 84, it is hereby

         ORDERED that the above-captioned action is hereby discontinued with respect to Verizon

Communications, Inc. without costs to any party and without prejudice to restoring the action to

this Court’s calendar as to Verizon Communications, Inc. if the application to restore the action is

made within thirty days.

SO ORDERED.
Dated: August 24, 2020
         New York, New York



                                                                        ANDREW L. CARTER, JR.
                                                                        United States District Judge
